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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

                                 CASE NO. 21-14500-CIV-CANNON

   ANGELA WILKEY,

          Plaintiff,
   v.

   A RIDE2CARE, LLC,
   TAXI PRONTO, INC.,
   INVO PEO OF FL, INC., and
   JOSEPH EHLING,

         Defendants.
   _____________________________________/

                   ORDER ON DEFAULT FINAL JUDGMENT PROCEDURE

          THIS CAUSE comes before the Court upon the Clerk’s Default as to Defendant Joseph

   Ehling [ECF No. 51], entered on May 13, 2022. Defendants A Ride2care, LLC, Taxi Pronto, Inc.,

   and INVO PEO of FL, Inc., have appeared and responded to the complaint [ECF Nos. 37–38].

   Upon review of the record, however, it appears that Defendant Joseph Ehling has indeed failed to

   respond to the Complaint or otherwise to appear in this action. Accordingly, it is

          ORDERED AND ADJUDGED that Plaintiffs must file one of the following two

   responses by June 13, 2022:

          (1) Where there is only one Defendant, or where there are multiple Defendants, 1 but no

   allegations of joint and several liability, and no possibility of inconsistent liability between

   Defendants, Plaintiffs shall file a motion for default final judgment.

          The motion for default final judgment must include affidavits of any sum certain due by



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     If there are multiple Defendants, Plaintiffs must state in the motion for default final judgment
   that there are no allegations of joint and several liability and set forth the basis why there is no
   possibility of inconsistent liability.
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   Defendant, and any other supporting documentation necessary to determine Plaintiffs’ measure of

   damages.    The motion shall also be accompanied by (1) the necessary affidavit under the

   Servicemembers Civil Relief Act, 50 U.S.C. section 3931(b), if applicable; (2) a proposed order;

   and (3) a proposed final judgment. (These last two are required by Local Rule 7.1(a)(2)). Pursuant

   to the CM/ECF Administrative Procedures, the proposed orders shall be submitted to the Court

   by e-mail in Word format to cannon@flsd.uscourts.gov. Plaintiffs shall send a copy of the

   motion to Defendant’s counsel or to Defendant if it does not have counsel. In the certificate of

   service, Plaintiffs shall indicate that notice was sent and the addresses where notice was sent.

          If Defendant fails to move to set aside the Clerk’s Default or respond to the motion for

   default final judgment within the time permitted by the Rules, default final judgment may be

   entered, which, simply put, means that Plaintiffs may be able to take Defendant’s property or

   money, and/or obtain other relief against Defendant.

          (2) Where there are multiple Defendants and allegations of joint and several liability, or

   the possibility of inconsistent liability between Defendants, Plaintiffs shall file a notice of joint

   liability. See Frow v. De La Vega, 82 U.S. 552, 554 (1872); 10A CHARLES ALAN WRIGHT, ET AL.,

   FEDERAL PRACTICE AND PROCEDURE § 2690 (4th ed. 2017) (citing Frow, 82 U.S. at 554); see also

   Gulf Coast Fans, Inc. v. Midwest Elecs. Imps., Inc., 740 F.2d 1499, 1512 (11th Cir. 1984).

          The notice of joint liability must briefly describe the allegations and advise the Court of

   the status of the other Defendants’ liability. Once liability is resolved as to all Defendants,

   Plaintiffs may move for the entry of default final judgment against Defendant, as described in (1)

   above, no later than 14 days thereafter.

          Plaintiffs’ failure to file for a motion for default final judgment or notice of joint liability

   within the specified time will result in a dismissal without prejudice as to these Defendants.



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         DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 16th day of May 2022.



                                                   _________________________________
                                                   AILEEN M. CANNON
                                                   UNITED STATES DISTRICT JUDGE

   cc:   counsel of record




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